                     Case 22-11068-JTD
                                  UNITED Doc 1690-1
                                         STATES      Filed 06/23/23
                                                BANKRUPTCY  COURT                   Page 1 of 2
                                               DISTRICT OF DELAWARE

                                           APPEAL TRANSMITTAL SHEET

Case Number:    22-11068                               BK      AP

If AP, related BK case number:

Title of Order Appealed: Order Authorizing the Movants to Redact or Withhold Certain Confidential Information of
                         Customers and Personal Information of Individuals




Docket #:   1643                       Date Entered:   6/15/2023
Item Transmitted:
       Notice of Appeal                            Docket #:    1688            Date Filed:       6/22/2023

       Amended Notice of Appeal                    Docket #:                    Date Filed:

       Cross Appeal                                Docket #:                    Date Filed:

       Motion for Leave to Appeal                  Docket #:                    Date Filed:

       Request for Certification of Direct Appeal Docket #:                     Date Filed:

Appellant/Cross Appellant:                                             Appellee/Cross Appellee

Bloomberg L.P.; Dow Jones & Company, Inc.; The New                   FTX Trading Ltd., et al.,
York Times Company; and The Financial Times Ltd.
(Media Intervenors)



Counsel for Appellant/Cross Appellant:                                 Counsel for Appellee/Cross Appellee:

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 Filing fee paid?                                                            Yes            No

 IFP application filed by applicant?                                         Yes            No

 Have additional appeals of the same order been filed?                       Yes            No

 *If Yes, has District Court assigned a Civil Action Number?                 Yes            No
 Civil Action Number:




(continued on next page)
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           19801



 I hereby certify that all designated items are available electronically through CM/ECF.

                                              Lisa Brown
 Date:   6/23/2023                     by:_____________________________________
                                                    Deputy Clerk

 Bankruptcy Court Appeal (BAP) Number:   23-35
